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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF 'I‘ENNESSEE
EASTERN DIVISION

JUDGMENT IN A CIVIL CASE

 

REGINALD MICHAEL GRAY ,

Plaintiff,

VS. NO. l:OB-CV-lZ&l-T/AN

RICK STAPLES, ET AL,

Defendant(s).

[X] DECISION BY THE COURT. This action came to consideration
before the Court; the issues having been considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that in compliance With the Order
entered in the above styled matter on July 12 2005, defendants'
motion to dismiss is granted and this action is hereby DISMISSED.

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S D. TODD
TED S'I‘ATES DISTRICT JUDGE

ROBERT R. CDIQ};OLIO!;- CLERK

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 1:03-CV-01241 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

